        CASE 0:23-cr-00260-ADM-DTS Doc. 16 Filed 09/29/23 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                       Case No. 23-cr-260 (ADM/DTS)

      Plaintiff,

v.                                              ORDER

Lindsay Marie Carroll (1),

      Defendant.


      This matter comes before the Court on defendant’s motion for continuance of

motion filing date. Dkt. No. 14. Defendant requests a 30-day continuance of the pretrial

motions deadline and hearing based on amount of disclosures by the Government and

the need for additional time to prepare his defense.

      Pursuant to 18 U.S.C. § 3161(h), this Court finds that the ends of justice served by

granting such a continuance outweigh the best interests of the public and Defendant in a

speedy trial and such continuance is necessary to provide Defendant and his attorney

reasonable time necessary for effective preparation and to make efficient use of the

parties’ resources. Based on all the files, records, and proceedings herein,

      IT IS HEREBY ORDERED:

      1.      Defendant’s motion for continuance of motion filing date, Dkt. No. 14, is

GRANTED. All motions in this case shall be filed by October 30, 2023. Counsel is

directed to read the Court’s Case Management Order, Dkt. No. 13, prior to filing any

discovery motion.

      2.      Counsel must file a letter on or before October 30, 2023 if no motions will

be filed and there is no need for a motions hearing.
        CASE 0:23-cr-00260-ADM-DTS Doc. 16 Filed 09/29/23 Page 2 of 2




      3.     Responses to the motions must be filed by November 13, 2023.

      4.     Any Notice of Intent to Call Witnesses must be filed by November 13, 2023.

D. Minn. LR 12.1(c)(3)(A).

      5.     Any Responsive Notice of Intent to Call Witnesses must be filed by

November 16, 2023. D. Minn. LR 12.1(c)(3)(B).

      6.     The motions shall be heard before Magistrate Judge David T. Schultz on

November 21, 2023 at 2:00 pm, in Courtroom 9E, U.S. Courthouse, 300 South Fourth

Street, Minneapolis.

      7.     The period of time from September 28, 2023 through October 30, 2023,

shall be excluded from Speedy Trial Act computations for Defendant.

      8.     Counsel must contact the Courtroom Deputy for District Judge Ann D.

Montgomery to confirm the new trial date.


Dated: September 29, 2029                       ___s/David T. Schultz______
                                                DAVID T. SCHULTZ
                                                U.S. Magistrate Judge




                                            2
